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United States Distiict Court
Southern District of Texas
FILED

UNITED STATES DISTRICT COURT — = SEP 07 2071
SOUTHERN DISTRICT OF TEXAS | . . Lae
McALLEN DIVISION Nathan Ochsner, Clerk, —
UNITED STATES OF AMERICA

v. Criminal No. M = 2 1 9 | / ( 2
IGNACIO GARZA

also known as “Nacho”
DIEGO REYES
MARCOS BARRIENTOS
JANELLA CHAVARRIA

 

RAMIRO €LARKE EDEN CLARKE, ine
ROEL VALADEZ

ROOSEVELT VELA

ABEL REYES

DAVID GOMEZ

ISIDORO GARZA

also known as “Lolo”

1)

 

JOSE ORTIZ
HUGO CANALES
JERONIMO MORIN
NOEL AVILA
__ SAMUEL TORRES
AMENDED
SEALED INDICTMENT
THE GRAND JURY CHARGES:
Count One

Beginning on or about July of 2020 and continuing until on or about the date of this -
Indictment in the Southern District of Texas and within the jurisdiction of the Court, defendants,

IGNACIO GARZA
also known as “Nacho”
DIEGO REYES
MARCOS BARRIENTOS
JANELLA CHAVARRIA
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RAMIRO GEARKEE EDEN CLARKE
ROEL VALADEZ
ROOSEVELT VELA
ABEL REYES
DAVID GOMEZ
ISIDORO GARZA
___also known as “Lolo”

JOSE ORTIZ
HUGO CANALES
JERONIMO MORIN
NOEL AVILA
SAMUEL TORRES
ae and

 

 

did knowingly and intentionally conspire and agree together and with other persons known and
unknown to the Grand Jurors, to possess with intent to distribute a controlled substance. The
controlled substance involved was 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, a Schedule II controlled substance, 5 kilograms or more
of a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance, 1000 kilograms or more of a mixture or substance containing a detectable amount of
marijuana, a Schedule I controlled substance.

In violation of Title 21, United States Code, Sections 846, 841(a)(1), and 841(b)(1)(A).

Count Two

On or about July 7, 2020 in the Southern District of Texas and within the jurisdiction of

the Court, defendants,
IGNACIO GARZA
also known as “Nacho” —
and
DIEGO REYES

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 500 grams or more, that is, approximately 48 kilograms of a

 
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mixture or substance containing a detectable amount of methamphetamine, a Schedule I
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title
18, United States Code, Section 2.

Count Three

On or about September 1, 2020, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,
IGNACIO GARZA
also known as “Nacho”

MARCOS BARRIENTOS
_JANELLA CHAVARRIA

 

and
RAMIRO €EAREE EDEN CLARKE

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 100 kilograms or more, that is, approximately 207 kilograms
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance. |
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title
18, United States Code, Section 2.
Count Four
On or about October 6, 2020, in the Southern District of Texas and within the
jurisdiction of the Court, defendants,
IGNACIO GARZA
also known as “Nacho”
ROEL VALADEZ
and

ROOSEVELT VELA

did knowingly and intentionally possess with intent to distribute a controlled substance. The

 
 

 

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controlled substance involved was 100 kilograms or more, that is, approximately 108 kilograms
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title
18, United States Code, Section 2. |
Count Five
On or about November 17, 2020, in the Southern District of Texas and within the
jurisdiction of the Court, defendants,
IGNACIO GARZA
also known as “Nacho”
DIEGO REYES.
and
ABEL REYES
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 100 kilograms or more, that is, approximately 679 kilograms
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title
18, United States Code, Section 2.
Count Six
On or about December 29, 2020, in the Southern District of Texas and within the
jurisdiction of the Court, defendants,
IGNACIO GARZA
also known as “Nacho”
DIEGO REYES

and
DAVID GOMEZ

did knowingly and intentionally possess. with intent to distribute a controlled substance. The
 

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controlled substance involved was 100. kilograms or more, that is, approximately 513.5 kilograms
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title
18, United States Code, Section 2.
Count Seven
On or about February 9, 2021 , in the Southern District of Texas and within the jurisdiction
of the Court, defendants,
_ IGNACIO GARZA
‘also known as “Nacho”

ISIDORO GARZA
_ also known as “Lolo”

 

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JOSE ORTIZ
and
HUGO CANALES
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 5 kilograms or more, that is, approximately 6 kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule I controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.

Count Fight

On or about February 22, 2021, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,
 

 

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IGNACIO GARZA
also known as “Nacho”
DIEGO REYES
JERONIMO MORIN
and
NOEL AVILA
did unlawfully and knowingly use and maintain a place located at 301 La Sagunada Road, Rio
Grande City, Texas, for the purpose of distributing marijuana, a controlled substance.
In violation of Title 21, United States Code Section 856(a)(1) and Title 18, United States
Code, Section 2.
Count Nine

On or about March 4, 2021 in the Southern District of Texas and within the jurisdiction of

the Court, defendants,
IGNACIO GARZA
also known as “Nacho”
DIEGO REYES
and
SAMUEL TORRES
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 500 grams or more, that is, approximately 3.75 kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title
18, United States Code, Section 2.
Count Ten
On or about August 6, 2021 in the Southern District of Texas and within the jurisdiction of

the Court, defendants,
 

 

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IGNACIO GARZA
also known as “Nacho”
DIEGO REYES

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 100 kilograms or more, that is, approximately 700 kilograms
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title

18, United States Code, Section 2.

NOTICE OF CRIMINAL FORFEITURE

NOTICE OF FORFEITURE
(21 U.S.C. § 853)

Pursuant to Title 21, United States Code, Section 853, the United States gives notice to the
Defendants charged in Counts One through Ten of this Indictment, that upon conviction of a
violation of Title 21, United States.Code, Sections 841 and/or 846,

1. all property constituting, or derived from, any proceeds obtained, directly or indirectly,

as the result.of such violation; and

2. all property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violation,

is subject to forfeiture.
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MONEY JUDGMENT
Defendants are notified that upon conviction, a money judgment may be imposed equal to
the total value of the property subject to forfeiture, for which the Defendants may be jointly and

severally liable.

A TRUE BILL

 

FOREPERSGN

JENNIFER B. LOWERY
ACTING UNITED STATES ATTORNEY

Cet, Bute

ASSISTANT UNITED STATES ATTORNEY

 

 

 
